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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

PUBLIC EMPLOYEES FOR
ENVIRONMENTAL RESPONSIBILITY,
962 Wayne Ave, Suite 610
Silver Spring, MD 20910
                                               CIVIL ACTION NO. 24-864
Plaintiff,
                                               COMPLAINT
v.

UNITED STATES BUREAU OF LAND
MANAGEMENT
1849 C Street NW
Washington, D.C. 20240

Defendant.




                              PRELIMINARY STATEMENT

1. Plaintiff Public Employees for Environmental Responsibility (“PEER” or “Plaintiff”)

     brings this action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et

     seq., as amended, to compel the United States Bureau of Land Management (“BLM”)

     to disclose records wrongfully withheld in failing to respond within the statutory

     deadline to Plaintiff’s FOIA request.

2. On October 3, 2023, PEER sent a FOIA request seeking records related to BLM State

     Director Meetings.

3. To date, Defendant has failed to produce any records in response to Plaintiff’s

     October 3, 2023, FOIA request, No. DOI-BLM-2024-00009.




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4. Plaintiff constructively exhausted its administrative remedies under 5 U.S.C.

     § 552(a)(6)(C)(i) and now seeks an order from this Court requiring Defendant to

     immediately produce the records sought in Plaintiff’s FOIA request, as well as other

     appropriate relief, including attorneys’ fees and costs.

                              JURISDICTION AND VENUE

5.   This Court has jurisdiction over this action under 5 U.S.C. § 552(a)(4)(B). This Court

     also has federal question jurisdiction over this action under 28 U.S.C. § 1331.

6.   This Court has the authority to grant declaratory relief pursuant to the Declaratory

     Judgment Act, 28 U.S.C. § 2201, et seq.

7.   This Court is a proper venue because Defendant is a government agent that resides

     in the District of Columbia. See 28 U.S.C. § 1391(e)(1)(A) (where defendant is the

     government or a government agent, a civil action may be brought in the district

     where the defendant resides). Venue is also proper under 5 U.S.C. § 552(a)(4)(B)

     (providing for venue in FOIA cases where the plaintiff resides, or in the District of

     Columbia).

8.   This Court has the authority to award reasonable costs and attorneys’ fees under 5

     U.S.C. § 552(a)(4)(E).

                                          PARTIES

9.   Plaintiff, PEER, is a non-profit public interest organization incorporated in

     Washington, D.C., and headquartered in Silver Spring, Maryland, with field offices

     in California, Colorado, and Massachusetts.




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10. Among other public interest projects, PEER engages in advocacy, research,

    education, and litigation to promote public understanding and debate concerning

    key current public policy issues. PEER focuses on the environment, including the

    regulation and remediation of toxic substances, public lands and natural resource

    management, public funding of environmental and natural resource agencies, and

    ethics in government. PEER educates and informs the public through news releases

    to the media, through its website, www.peer.org, and through publication of the

    PEEReview newsletter.

11. Defendant, BLM, is an agency of the United States Department of the Interior

    (“DOI”) and an agency of the United States as defined by 5 U.S.C. § 552(f)(1).

12. Defendant is charged with the duty to provide public access to records in its

    possession consistent with the requirements of the FOIA. Defendant’s refusal to

    provide PEER with the records requested or make a final determination on PEER’s

    FOIA request within twenty working days of the date of the requests’ submissions

    is a violation of the FOIA.

                                  STATEMENT OF FACTS

13. On October 3, 2023, PEER requested records related to BLM’s State Director

   Meetings. Specifically, PEER requested:

          a. Since January 1, 2013, all agendas and meeting minutes for State Director

             Meetings.

          b. Any associated documents, emails, texts, instant messages, electronic

             chats, memos, notes, letters, reports, or any other records.

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14. The same day it was submitted, this FOIA request was assigned Submission ID:

   885311.

15. On January 4, 2023, PEER contacted BLM’s FOIA Office and the DOI Public Liaison

   Office to request a status update.

16. On January 16, 2023, the DOI Public Liaison Office requested that the agency

   provide PEER with a status update on Submission ID 885311, which was assigned

   the FOIA request No. DOI-BLM-2024-00009.

17. Since the request was submitted, PEER has yet to receive any responsive records or

   a final determination on DOI-BLM-2024-00009.

                                  CAUSE OF ACTION

                      Violation of the Freedom of Information Act

18. Plaintiff incorporates the allegations in the preceding paragraphs.

19. FOIA requires federal agencies to respond to public requests for records, including

   files maintained electronically, to increase public understanding of the workings of

   government and to provide access to government information. FOIA reflects a

   “profound national commitment to ensuring an open Government,” and agencies

   must “adopt a presumption in favor of disclosure.” Presidential Mem., 74 Fed. Reg.

   4683 (Jan. 21, 2009).

20. FOIA requires agencies to determine within twenty working days after the receipt of

   any FOIA request whether to comply with the request. 5 U.S.C. § 552(a)(6)(A)(i).

   Agencies may extend this time period only in “unusual circumstances” and then

   only for a maximum of ten additional working days. 5 U.S.C. § 552(a)(6)(B)(i).

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21. Administrative remedies are deemed exhausted when an agency fails to comply

       with the applicable time limits. 5 U.S.C. § 552(a)(6)(C)(i).

22. Twenty working days from October 3, 2023 (the date of PEER’s request) was

       October 31, 2023. With an additional ten working days for “unusual circumstances,”

       the date was November 14, 2023. As of the date of this filing, Plaintiff has not

       received any records responsive to its October 3, 2023, FOIA request, nor any further

       word from Defendant.

23. Defendant’s failure to make determinations on or disclose the documents requested

       in Plaintiff’s FOIA request within the time frame mandated under FOIA is a denial

       and wrongful withholding of records in violation of 5 U.S.C. § 552.

24. Plaintiff has constructively exhausted its administrative remedies under 5 U.S.C. §

       552(a)(6)(C)(i), and now seeks an order from this Court requiring the Defendant to

       immediately produce the records sought in Plaintiff’s FOIA request, as well as other

       appropriate relief, including attorneys’ fees and costs.

                                      RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

  i.     Enter an order declaring that Defendant wrongfully withheld requested agency

         records;

 ii.     Issue a permanent injunction directing Defendant to disclose to Plaintiff all

         wrongfully withheld records;

iii.     Maintain jurisdiction over this action until Defendant is in compliance with the

         FOIA and every order of this Court;

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iv.   Award Plaintiff attorney fees and costs pursuant to 5 U.S.C. § 552(a)(4)(E); and

v.    Grant such additional and further relief to which Plaintiff may be entitled.



                               Respectfully submitted on March 26, 2024,

                                  __/s/ Colleen Teubner_________
                                  Colleen E. Teubner, DC Bar # 90003410

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